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EXHIBIT 1
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Case 3:08-cv-03146-MMC Document 14

Dawniell Zavala (State Bar No. 253130)

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Attorney for Plaintiffs

SONY BMG MUSIC ENTERTAINMENT;
ARISTA RECORDS LLC; UMG
RECORDINGS, INC.; BMG MUSIC; and
WARNER BROS. RECORDS INC.

SONY BMG MUSIC ENTERTAINMENT, a
Delaware general partnership; ARISTA RECORDS
LLC, a Delaware limited liability company; UMG
RECORDINGS, INC., a Delaware corporation;
BMG MUSIC, a New York general partnership; and
WARNER BROS. RECORDS INC., a Delaware
corporation,

Plaintiffs,
Vv.

OCAPUNITAN IVY AKA O.C. IVY,

Defendant.

 

 

Filed 11/29/11 Page 2 of 4 PagelD# 2702
Filed 09/04/2008 Page 1 of 3

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

CASE NO. 3:08-cv-03 146-MMC

NOTICE OF ERRATA AND
fPROPOSEDT ORDER

 

NOTICE OF ERRATA AND [PROPOSED] ORDER

Case No. 3:08-cv-03 146-MMC
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Case 3:08-cv-03146-MMC Document14 Filed 09/04/2008 Page 2 of 3

COME NOW the Plaintiffs, SONY BMG MUSIC ENTERTAINMENT, et al, and for
their cause of action against Defendant Ocapunitan Ivy, state:

1. Plaintiffs filed a Complaint for Copyright Infringement against Defendant on July
1, 2008. Plaintiffs named “Ocapunitan Ivy aka O.C. Ivy” as Defendant.

2. Plaintiffs are informed and believe that Defendant’s name is “Armivia O.
Louie”and that Defendant has used the aliases “Armivia Capounitan, Ivy Louie, Ocapunitan Ivy
and O.C. Ivy.” Plaintiffs have determined this through conversations with defendant and her
husband as well as database research.

3, Plaintiffs request that Defendant’s name in this lawsuit and its filings be corrected
and changed to “Armivia O. Louie,” and that the caption in this lawsuit be amended and changed
to “Armivia O. Louie aka Armivia Capounitan, aka Ivy Louie, aka Ocapunitan Ivy aka O.C. Ivy”

WHEREFORE, Plaintiffs respectfully request that the Complaint and all previous filings

be so amended.

Dated: September 3, 2008 HOLME ROBERTS & OWEN LLP

By /s/ Dawniell Alise Zavala
DAWNIELL ZAVALA
Attorney for Plaintiffs
SONY BMG MUSIC ENTERTAINMENT;
ARISTA RECORDS LLC; UMG
RECORDINGS, INC.; BMG MUSIC; and
WARNER BROS. RECORDS INC.

NOTICE OF ERRATA AND [PROPOSED] ORDER

Case No. 3:08-cv-03 146-MMC
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Case 3:08-cv-03146-MMC Document14 ~~ Filed 09/04/2008 Page 3of3

4PROPOSEDT ORDER

Upon review of Plaintiffs’ Notice of Errata and for good cause shown, this Court

ORDERS that Defendant’s name in this lawsuit and its filings be corrected and changed
to “Armivia O. Louie,” and

FURTHER ORDERS that the name of Defendant in the caption in this lawsuit be
amended and changed to “Armivia O. Loute aka Armivia Capounitan, aka Ivy Louie, aka

Ocapunitan Ivy aka O.C. Ivy.”

   

DATED: ‘September 4, 2008 By:

 

. Maxine M. Chesney
United States District Judge

 

NOTICE OF ERRATA AND [PROPOSED] ORDER

Case No. 3:08-cv-03 146-MMC
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